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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

    Empower Clinic Services, L.L.C.,

             Plaintiff,

    v.                                                    Case No. 4:23-cv-4123

    Bio Filling Solutions Inc. f/k/a Bio42 Clinical
    Filling Solutions, Inc., Hanson Irwin Group
    LLC, David Teer, Lisa Hudanich, Matthew
    Ludowig, Marc Hanson, Jerry Irwin,

             Defendants.


     DEFENDANT/COUNTERCLAIM PLAINTIFF MATTHEW LUDOWIG’S JOINDER
      IN DEFENDANTS’ BIO FILLING SOLUTIONS INC., BIO42 CLINICAL FILLING
          SOLUTIONS, INC., HANSON IRWIN GROUP LLC, DAVID TEER, LISA
        HUDANICH, MARC HANSON, AND JERRY IRWIN’S OBJECTION TO AND
       MOTION TO STRIKE PLAINTIFF’S EXPERTS AND EXPERT REPORTS AND
    LUDOWIG’S SEPARATE MOTION TO STRIKE EXPERTS AND EXPERT REPORTS




TO THE HONORABLE JUDGE OF SAID COURT:

            Comes now, Defendant Matthew Ludowig (“Ludowig”) and serves his Joinder in
Defendants’ Bio Filling Solutions Inc., Bio42 Clinical Filling Solutions, Inc., Hanson Irwin Group

LLC, David Teer, Lisa Hudanich, Marc Hanson, and Jerry Irwin’s Objection to and Motion to Strike

Plaintiff’s Experts and Expert Reports, and his Separate Motion to Strike Plaintiff’s Experts and

Expert Reports (“Motion”) for the reasons and in accordance with the arguments made in that

Motion and requests the Court to GRANT the Motion on that basis.1

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  Ludowig also notes that its new counsel has just appeared in this case and files this Motion in
respect for the current scheduling order. That said, Ludowig has filed a motion to extend the current
scheduling order to permit proper discovery and filing of this motion and others. Ludowig reserves
the right to supplement, amend, and/or refile this motion when proper discovery has been
completed. Notably, this motion is filed without the benefit of any depositions of Plaintiff’s
                                                      1
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        In addition to the arguments set forth in Defendants’ Bio Filling Solutions Inc., Bio42

Clinical Filling Solutions, Inc., Hanson Irwin Group LLC, David Teer, Lisa Hudanich, Marc

Hanson, and Jerry Irwin’s (collectively, “Defendants”) Motion which are hereby joined and

incorporated herein, Ludowig further contends that Empower is estopped from calling on experts

to testify that Empower suffered any damages, let alone testify to an alleged amount, pursuant to

the Temporary Injunction Hearing Testimony on March 27, 2024, wherein its Chief Operating

Officer stated under oath, in direct response to this Court’s inquiry, that Empower had not suffered

any losses:

   Q:         Are you aware of any actions by the defendants to interfere with Empower’s
              business?

   A:         Specifically New Jersey?

   Q:         Let’s start with New Jersey.

   A:         In New Jersey, it’s not clear.

   Q:         Not clear. That’s not a sufficient answer. If there are actions, tell me what they
              are. If you’re unaware of any actions, say that you’re unaware of any actions.
              ...

   A:         I’m unaware.

   Q:         Okay. I take that as a no. The other location, . . . are you aware of any actions
              that the defendants have taken that interfere with Empower’s business to do
              business in [redacted location]?

   A:         No.

(ECF 64-1 at pp. 82:18–83:23.) Empower’s COO further confirmed that Ludowig, nor the other

defendants, had done anything to interfere with Empower’s business:


Experts. For that reason alone, this motion is premature. Current counsel for Ludowig never agreed
to conduct expert depositions after this deadline, and indeed, Ludowig should not be harmed by
that decision by his former counsel. Counsel for Ludowig raised this issue with Empower’s counsel
and asked that the parties seek the Court’s permission to extend this deadline for the above reasons,
but Empower’s counsel refused.



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    Q:      Are there any actions of the defendants that impedes Empower’s ability to
            operate in the business space that [Empower is] currently operating in?

    A:      In what we’re currently doing today, no, sir.

(ECF 64-1 at pp. 92:24–93:17.) The Court also recognized that Empower had suffered no

damages:

    The Court:      I’ve not heard of damages today. I did not hear that there were actions taken
                    that would prevent the plaintiff from vying their trade. . . .
(ECF 64-1 at pp 164:1–165-23.) Further, as set forth in Codefendants’ Motion (ECF 136), the

defendants’ business have since failed and wound down. Thus, Empower’s unequivocal admission

under oath that it suffered no damages as a result of any alleged conduct by Ludowig precludes any

“expert” testimony to the contrary. Indeed, efforts to now solicit an expert to fabricate damages is

inappropriate and inequitable. Any “expert report” on the subject of damages that contradicts

Empower’s sworn statement should therefore be stricken.

         Moreover, these contradictions in Empower’s story casts Ryan Lamotta’s expert report into

serious questions of reliability. His report professes to calculate damages—but also indicates that

he specifically reviewed the transcript in which Empower admits to having suffered no

damages whatsoever. Further, Empower’s other expert, Denis Boyle, admits to relying on Ryan

LaMotta’s damages report—and similarly reviewed the hearing transcript from March 27, 2024—

and therefore both expert reports should be stricken.
         Finally, Boyle’s report is filled with legal conclusions and vague references to “Defendants”

who allegedly caused Empower harm by taking and using Empower’s trade secrets. Yet, Boyle has

not identified a single piece of confidential or trade secret information which Ludowig took from

Empower and disseminated, that he relies upon in providing his opinions. Accordingly, the report

and any testimony related thereto, cannot help the trier of fact because it is not based upon reliable

data or facts in this case.




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       For these reasons, and as set forth more fully in Defendants’ Motion to Strike Plaintiff’s

Experts and Expert Reports, Ludowig respectfully requests that the Court strike Plaintiff’s experts

Denis Boyle and Ryan Lamotta and their reports from the evidentiary record of this matter.


       Dated: April 18, 2025.

                                          /s/ Aaron A. Wagner
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                                          Attorneys for Defendant Matthew Ludowig




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                              CERTIFICATE OF SERVICE

      This certifies that on April 18, 2025, a true and correct copy of the foregoing

DEFENDANT/COUNTERCLAIM PLAINTIFF MATTHEW LUDOWIG’S JOINDER IN

DEFENDANTS’ BIO FILLING SOLUTIONS INC., BIO42 CLINICAL FILLING

SOLUTIONS, INC., HANSON IRWIN GROUP LLC, DAVID TEER, LISA HUDANICH,

MARC HANSON, AND JERRY IRWIN’S OBJECTION TO AND MOTION TO STRIKE

PLAINTIFF’S EXPERTS AND EXPERT REPORTS AND LUDOWIG’S SEPARATE

MOTION TO STRIKE EXPERTS AND EXPERT REPORTS was forwarded to all counsel

of record pursuant to the Federal Rules of Civil Procedure.

                                                   /s/ Aaron A. Wagner
                                                   Aaron A. Wagner




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